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 8    McJunkin, Gerald Risk, Steve Vassallo, and Richard Wong

 9
                                        UNITED STATES DISTRICT COURT
10
                                     NORTHERN DISTRICT OF CALIFORNIA
11

12
      GEORGE COHEN, DAVID MOSS, and                                     Case No.   3:16-cv-02570
13    ROXANNE XENAKIS, Individually and on
      Behalf of All Others Similarly Situated,                          DEFENDANT SUNRUN INC.’S
14                                                                      CORPORATE DISCLOSURE
                                Plaintiffs,                             STATEMENT AND
15                                                                      CERTIFICATE OF INTERESTED
               v.                                                       PARTIES
16
      SUNRUN INC., LYNN JURICH, BOB KOMIN,                              [Fed. R. Civ. P. 7.1]
17    EDWARD FENSTER, JAMESON MCJUNKIN,                                 [Civil L.R. 3-15]
      GERALD RISK, STEVE VASSALLO,
18    RICHARD WONG, CREDIT SUISSE
      SECURITIES (USA) LLC, GOLDMAN, SACHS
19    & CO., MORGAN STANLEY & CO. LLC,
      MERRILL LYNCH, PIERCE FENNER &
20    SMITH INCORPORATED, RBC CAPITAL
      MARKETS, LLC, KEYBANC CAPITAL
21    MARKETS INC., and SUNTRUST ROBINSON
      HUMPHREY, INC.,
22
                                Defendants.
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     Sunrun’s Corporate Disclosure Statement and Cert. of Interested Parties
     Case No. 3:16-cv-02570
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 1             Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Sunrun, Inc. (“Sunrun”),

 2    through its undersigned attorneys, discloses the following:

 3             1.       Sunrun is a publicly traded company.

 4             2.       Sunrun does not have a parent corporation.

 5             3.       No publicly held corporation owns 10% or more of Sunrun’s stock.

 6             Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

 7    associations of persons, firms, partnerships, corporations (including parent corporations), or other

 8    entities (i) have a financial interest in the subject matter in controversy or in a party to the proceeding,

 9    or (ii) have a non-financial interest in that subject matter or in a party that could be substantially

10    affected by the outcome of this proceeding. The following companies, or entities affiliated with

11    such companies, beneficially own more than 5% of Sunrun’s stock. Sunrun is a publicly traded

12    company with a large number of outstanding shares, and as such, it would be impracticable to list

13    each individual shareholder:

14             1.       Accel Partners

15             2.       Canyon Partners

16             3.       Foundation Capital

17             4.       Madrone Capital Partners LLC

18             5.       Sequoia Capital

19

20    Dated: May 12, 2016                                  MORRISON & FOERSTER LLP
21

22                                                         By:       /s/ Anna Erickson White
                                                                    ANNA ERICKSON WHITE
23
                                                                    Attorneys for Defendants
24                                                                  Sunrun Inc., Lynn Jurich, Bob Komin,
                                                                    Edward Fenster, Jameson McJunkin,
25                                                                  Gerald Risk, Steve Vassallo, Richard
                                                                    Wong, Beau Peelle, Eren Omer
26                                                                  Atesmen, Reginald Norris, William
                                                                    Elmore
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     Sunrun’s Corporate Disclosure Statement and Cert. of Interested Parties
     Case No. 3:16-cv-02570
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